                Case 2:95-cr-00235-WBS Document 325 Filed 02/10/12 Page 1 of 4


 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4
     Attorney for Defendant
 5   PABLO CASTRO MARRON
 6                          IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                        Case No.: 95-235 EJG
10
                     Plaintiff,                       STIPULATION AND ORDER TO RESET
11
                                                      BRIEFING SCHEDULE AND HEARING
12            v.
                                                      DATE: February 24, 2012
13   PABLO CASTRO MARRON,                             TIME: 10:00 a.m.
14                                                    JUDGE: Hon. Edward J. Garcia
15                   Defendant.
16
17            IT IS HEREBY STIPULATED by and between Assistant United States Attorneys
18   William Wong and Todd Pickles, Counsel for Plaintiff, and Attorney Clemente M.
19   Jiménez, Counsel for Defendant PABLO CASTRO MARRON, that the presently set
20   briefing schedule and hearing on the defendant’s motion to dismiss the indictment be
21   modified as follows:
22            The government’s response to the defendant’s motion to be filed by February 24,
23   2012; defendant’s reply to be filed by March 2, 2012; and the matter set for a non-
24   evidentiary hearing on March 16, 2012, at 10:00 a.m. Based on the outcome of the
25   motion, the parties can select future dates as necessary.
26            The parties’ attempts to resolve this matter are ongoing. In the absence of
27   resolution, defense counsel will require time to respond to the government’s reply brief.
28



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                Case 2:95-cr-00235-WBS Document 325 Filed 02/10/12 Page 2 of 4


 1   Further, defense counsel will be unavailable for the presently scheduled hearing date due
 2   to an out of town professional seminar scheduled on that day.
 3            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
 4   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
 5   (Local code T-4), and that the ends of justice served in granting the continuance and
 6   allowing the defendants further time to prepare outweigh the best interests of the public
 7   and the defendant to a speedy trial.
 8
 9   DATED:         February 9, 2012            /S/    William Wong___________
                                                       WILLIAM WONG
10                                                     Attorney for Plaintiff
11
                                                /S/    Todd Pickles_____________
12                                                     TODD PICKLES
13                                                     Attorney for Plaintiff
14                                              /S/    Clemente M. Jiménez________
15                                                     CLEMENTE M. JIMÉNEZ
                                                       Attorney for Pablo Castro Marron
16
17                                                O RDER

18   IT IS SO ORDERED, that the revised law and motion schedule be adopted. The Court
19   finds that time under the Speedy Trial Act shall be excluded through March 16, 2012 in
20   order to afford counsel reasonable time to prepare. Based on the parties’ representations,
21   the Court finds that the ends of justice served by granting a continuance outweigh the
22   best interests of the public and the defendants to a speedy trial.
23
24   This 9TH day of February, 2012

25                                                     /s/ Edward J. Garcia
                                                       United States District Judge
26
27
28



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     02/09/12
                Case 2:95-cr-00235-WBS Document 325 Filed 02/10/12 Page 3 of 4


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                     Plaintiff,                       STIPULATION AND ORDER TO RESET
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11
                                                /S/    Todd Pickles_____________
12                                                     TODD PICKLES
13                                                     Attorney for Plaintiff
14                                              /S/    Clemente M. Jiménez________
15                                                     CLEMENTE M. JIMÉNEZ
                                                       Attorney for Pablo Castro Marron
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22   best interests of the public and the defendants to a speedy trial.
23
24   This 9TH day of February, 2012

25                                                     /s/ Edward J. Garcia
                                                       United States District Judge
26
27
28



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